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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                   Case No.

 THOMAS PHAM LEGRO,                                 Filed Under Seal

                    Defendant



                       AFFIDAVIT IN SUPPORT OF A CRIMINAL
                        COMPLAINT AND ARREST WARRANT

       I, Remy M. Walsh, a Special Agent with the Federal Bureau of Investigation, being duly

sworn, depose and state as follows:

                                 AFFIANT BACKGROUND

        1.     I have been employed as a Special Agent of the Federal Bureau of Investigation

(“FBI”) since April 2021, and I am currently assigned to the Washington Field Office Child

Exploitation and Human Trafficking Task Force. While employed by FBI, I have investigated

federal criminal violations related to high technology or cybercrime, child exploitation, and child

pornography, including but not limited to the illegal possession, receipt, distribution,

advertisement, and production of material depicting the sexual exploitation of minors. As a

Special Agent with the FBI, I received training on investigative techniques related to crimes

involving the sexual exploitation of children, including obtaining and analyzing digital records,

analyzing stored digital media, and the application for and execution of search and arrest warrants.

I have conducted and assisted in federal child exploitation investigations and participated in the

execution of numerous search warrants in support of child exploitation investigations. I have

gained experience in these investigations through training, discussions with other law

enforcement officers and computer forensic examiners, and everyday work conducting these

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types of investigations. I have had the opportunity to observe and review numerous examples of

child pornography (as defined in 18 U.S.C. § 2256(8) and used interchangeably with the term

“child sexual abuse material” or “CSAM”) in many forms of media, including computer media.

Moreover, I am a federal law enforcement officer who is engaged in enforcing the criminal laws,

including 18 U.S.C. §§ 2251, 2252, and 2252A, and I am authorized by law to request a search

warrant. As such, I am an “investigative or law enforcement officer” of the United States within

the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United

States who is empowered by law to conduct investigations of, and to make arrests for, offenses

enumerated in Section 2516 of Title 18, United States Code.

       2.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause to arrest the defendant. It does not

set forth all of my knowledge, or the knowledge of others, about this matter. Where actions,

conversations, and statements of others are related herein, they are related in substance and in part,

except where otherwise indicated.

       3.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. §

2252(a)(4)(B), Possession of Child Pornography, have been committed by Thomas Legro (the

“SUBJECT”).




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         23.     A check of law enforcement databases revealed that on or about April 2006, the

FBI Headquarters, Child Exploitation Operational Unit, was investigating E-Gold, a digital

currency online platform. Based on my review of law enforcement records, several child

pornography websites that advertised memberships and downloads used E-Gold as the primary

means by which individuals would purchase child pornography from the websites. The

investigation identified multiple E-Gold users, including an E-Gold user under account ID

2180887,       username      “Samsung”,        telephone     number       202-265-XXXX,           email    address

thomasp@outgun.com, address XXXX Adams Mill Road, Washington, D.C. 20009. Open source

records checks revealed address XXXX Adams Mill Road, Washington, D.C. was a former address

associated to THOMAS LEGRO. The law enforcement records indicated the account was

registered on or about June 14, 2005, and last accessed on October 27, 2005.2

         24.     As part of that investigation, the FBI Child Exploitation Operational Unit served a

subpoena to Outblaze, Limited, for information associated to email address thomasp@xxxx.com.

On April 6, 2006, Outblaze responded to the subpoena and listed the subscriber as Thomas LeGro,

other email address: legrot@xxxx.com, gender: male, date of birth xx/xx/1976.3



2 Further review of law enforcement records revealed that on June 28, 2007, the E-Gold account with username
Samsung was designated with a memo “Freeze: CP Buyer.” It was also designated with the Seller Category “CP
Buyer” and was associated to at least one transaction with another user using account ID 2181002, username “lee.”
“CP” is a common abbreviation for “child pornography.”
3 The date of birth associated to this footnote was the same date of birth for the Thomas LeGro referenced throughout
this document. The information was redacted for privacy purposes.

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       25.     Further review of the E-Gold investigation records revealed two additional

accounts, account ID 1277870, username “Samsung”, and 1791229, username “legrot”. The two

additional accounts were both associated to XXXX Adams Mill Road, Washington, D.C. and

telephone number 202-265-XXXX. The two additional accounts were associated to email address

legrot@xxxx.net.

       26.     Pursuant to data received from pen register/trap and trace, account information was

obtained for internet activity associated with LEGRO’s Verizon internet account. The pen

register/trap and trace was signed on May 8, 2025. Analysis of those records revealed from May

15, 2025, through May 23, 2025, there were approximately six instances when internet activity

was believed to be associated to previously identified TOR internet nodes.4

       27.     On June 24, 2025, the Honorable Moxila A. Upadhyaya, United States Magistrate

Judge of the United States District Court for the District of Columbia signed a warrant authorizing

the search of the SUBJECT’s residence.

       28.     On June 26, 2025, FBI Agents executed the search warrant at the SUBJECT’s

residence.

       29.     Several devices were seized during the execution of the search warrant to include

an Apple MacBook, serial number QV04T2P45G, that was seized from an office area located in

the basement of the SUBJECT’s residence. The laptop contained a user profile for Thomas Legro.

       30.     A review of the Apple MacBook laptop revealed a folder located under the file

path: Users-legrot-Movies-TV-Media-Home Videos, that contained 11 videos depicting child

pornography. A summary of six of the videos is as follows:




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File Name              File Information    Description
§Tgèy§Trytrg-1.m4v     Created on          A video that is 47 second long depicting a
                       January 27, 2022    prepubescent female child performing oral sex
                                           on an adult male’s penis. The prepubescent
                                           female is wearing a long sleeve shirt with her
                                           pubic area exposed.

Hjtgrzeaa-1.m4v        Created on          A video that is 5 minutes and 42 seconds long
                       February 7, 2022    depicting a prepubescent female child
                                           performing oral sex on an adult male’s penis.
                                           The prepubescent female is unclothed and her
                                           breasts are exposed.

Juyvrterczerze-1.m4v   Created on        A video that is 1 minute and 51 seconds long
                       February 11, 2022 depicting a prepubescent female child
                                         performing oral sex on an adult male’s penis. At
                                         one point in the video, the adult male ejaculates
                                         into the prepubescent female’s mouth. The
                                         prepubescent female is wearing a plaid dress.

Kunytre-1.m4v          Created on          A video that is 37 seconds long depicting a
                       February 12,        prepubescent female, whose genitals and anus
                       2022                are exposed to the camera, performing oral sex
                                           on an adult male’s penis. At one point in the
                                           video, the adult male’s hand manipulates the
                                           prepubescent female’s vagina.

Ngqgszs-1.m4v          Created on          A video that is 44 seconds long depicting a
                       February 13,        prepubescent female performing oral sex on an
                       2022                adult male’s penis. At the beginning of the video,
                                           the prepubescent female had the adult male’s
                                           penis in her hand. When the adult male moves
                                           his penis toward the prepubescent female’s
                                           mouth, she shakes her head. The adult male then
                                           pressed mouth against his penis by holding her
                                           head in his hand.

Ytjytj-1.m4v           Created January     A video that is 2 minutes and 20 seconds long
                       8, 2023             depicting a prepubescent female child
                                           performing oral sex on an adult male’s penis.
                                           The prepubescent female is wearing a short-
                                           sleeve shirt and no pants. One point of the video
                                           shows the prepubescent female’s genital area
                                           exposed to the camera. At another point in the

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                                               video, the adult male ejaculates into the
                                               prepubescent female’s mouth.


          31.   At another point during the execution of the search warrant agents observed what

appeared to be fractured pieces of a hard drive in the hallway on the basement of the residence,

and the empty covering of a hard drive in an office in the basement of the residence. The

aforementioned hallway led from the bottom of the basement stairs to the office. When agents first

entered the residence on June 26, they observed LEGRO in the doorway at the top of the basement

stairs.

                                        CONCLUSION

          32.   I submit that this affidavit establishes probable cause to believe that Thomas

LEGRO violated 18 U.S.C. 2252(a)(4)(B), Possession of Child Pornography.


                                                    Respectfully submitted,



                                                    ______________________________
                                                    Remy M. Walsh
                                                    Special Agent
                                                    Federal Bureau of Investigation


Subscribed and sworn to in accordance with Fed. R. Crim. P. 4.1 and 41(d)(3) by telephone on
June 26, 2025.



_______________________________________
HONORABLE MOXILA A. UPADHYAYA
UNITED STATES MAGISTRATE JUDGE




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